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                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF NEW JERSEY

 COVER SHEET FOR FIRST AND FINAL FEE APPLICATION OF GIBBONS P.C. FOR THE
          PERIOD FROM MAY 23, 2023 THROUGH SEPTEMBER 29, 2023

  In re Bed Bath & Beyond, Inc., et al.   Applicant: Gibbons P.C.

  Case No.: 23-13359 (VFP)                Client: Official Committee of Unsecured Creditors

  Chapter 11                              Case Filed: April 23, 2023


    COMPLETITION AND SIGNING THIS FORM CONSTITUTES A CERTIFICATION
         UNDER PENALTY OF PURJURY PURSUANT TO 28 U.S.C. § 1746

                              RETENTION ORDER ATTACHED

                                              /s/ Robert K. Malone     November 13, 2023
                                              Robert K. Malone                      Date
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                                         SECTION I
                                     SUMMARY OF FEES
  Final Fee Application For the Period May 23, 2023
  Through September 29, 2023
                                                                                     FEES                     EXPENSES
  TOTAL FEES REQUESTED IN APPLICATION:                                            $179,833.501                 $198.00
  TOTAL FEES ALLOWED TO DATE:                                                         N/A                        N/A
  TOTAL RETAINER:                                                                     N/A                        N/A
  TOTAL HOLDBACK TO DATE:                                                             N/A                        N/A
  TOTAL RECEIVED BY APPLICANT TO DATE:                                               $0.00                      $0.00
                                                     Year
  Name of Professional and Title                                            Rate              Hours                    Fee
                                                    Admitted
  Peter J. Ulrich, Director                           1986                   $925.00                 74.3             $68,727.50
  Robert K. Malone, Director                            1985              $1,075.00                  25.0             $26,875.00
  Eric B. Udowychenko, Director                         2016                 $565.00                 29.2             $16,498.00
  James J. Petrucci, Director                           2002                 $750.00                  2.6              $1,950.00
  Brett S. Theisen, Director                            2011                 $700.00                 45.7             $31,990.00
  Kyle P McEvilly, Associate                            2021                 $435.00                 53.6             $23,316.00
  Ellen Rosen, Case Manager                             N/A                  $325.00                  0.2                   $65.00
  Neal Mitchell, Paralegal                              N/A                  $245.00                  0.6                  $147.00
  Robin Traylor, Librarian                              N/A                  $265.00                  1.0                  $265.00
                                        Total                                                      232.2            $169,833.50

                                                   SECTION II
                                               SUMMARY OF SERVICES

  Service
                         Services Rendered                                                    Hours                   Fee
   Code
  B110    Case Administration                                                                     7.30                 $3,440.00
  B120          Asset Analysis and Recovery                                                       1.90                 $1,330.00
  B130          Asset Disposition                                                                 5.30                 $3,129.00
  B150          Meetings of and Communications with Creditors                                     3.40                 $2,172.00
  B160          Fee and Employment Applications                                                  44.20                $22,981.50
  B240          Tax Issues                                                                     158.10               $128,646.00
  B320          Plan and Disclosure Statement                                                     8.60                 $6,020.00
  L450          Trial and Hearing Attendance                                                      3.40                 $2,115.00


 1 The total fees requested include an estimated $10,000.00 for fees incurred post-effective date for the preparation of this first and

 final fee application, of which $3,697.50 for 8.5 hours of services rendered is reflected in Exhibit D attached hereto.



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                                    SECTION III
                              SUMMARY OF DISBURSEMENTS

                               Disbursements                                           Fee
  Legal Research - Lexis                                                                  $198.00


                                          SECTION IV
                                         CASE HISTORY

    (1) Date cases filed: April 23, 2022.

    (2) Chapter under which cases commenced: Chapter 11.

    (3) Date of retention: July 20, 2023, effective as of May 24, 2023.

               If limit on number of hours or other limitations to retention: No.

    (4) Summarize in brief the benefits to the estate and attach supplements as needed:

               See narrative portion of fee application.

    (5) Anticipated distribution to creditors:

           (a) Administrative expense creditors: Paid in full.

           (b) Secured creditors: To be paid in accordance with the Second Amended Joint
               Chapter 11 Plan of Bed Bath & Beyond Inc. and Its Debtor Affiliates (the “Plan”).
               See Exhibit A to the Findings of Fact, Conclusions of Law, and Order (I) Approving
               the Disclosure Statement on a Final Basis and (II) Confirming the Second Amended
               Joint Chapter 11 Plan of Bed Bath & Beyond Inc. and Its Debtor Affiliates [ECF
               No. 2172].

           (c) Priority creditors: To be paid in accordance with the Plan.

           (d) General unsecured creditors: To be paid in accordance with the Plan.

    (6) Final disposition of case and percentage of dividend paid to creditors (if applicable):

               The exact percentage of dividend paid to creditors is unknown at this time.




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 Special Counsel to the Official
 Committee of Unsecured Creditors

                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF NEW JERSEY


     In re:                                                          Hon. Vincent F. Papalia
                                                                     Chapter 11
     BED BATH & BEYOND, INC., et al.,1                               Case No. 23-13359 (VFP)
                             Debtors.                                (Jointly Administered)


      FIRST AND FINAL APPLICATION OF GIBBONS P.C. FOR COMPENSATION OF
     PROFESSIONAL SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES
         FOR THE PERIOD FROM MAY 23, 2023 THROUGH SEPTEMBER 29, 2023

              Gibbons P.C. (“Gibbons” or the “Firm”), as special counsel to the Official Committee of

 Unsecured Creditors (the “Committee”) of the above-captioned debtors and debtors in possession

 (the “Debtors”), hereby submits this first and final application for compensation of professional

 services rendered and reimbursement of expenses (the “Application”) pursuant to (i) section 330

 of title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”), (ii) Rule

 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), (iii) Rule 2016-1


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   The last four digits of Debtor Bed Bath & Beyond, Inc.’s tax identification number are 0488. A complete list of the
 Debtors in the Chapter 11 Cases and each such Debtor’s tax identification number may be obtained on the website of
 the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of Debtor Bed Bath &
 Beyond, Inc.’s principal place of business and the Debtors’ service address in the Chapter 11 Cases is 650 Liberty
 Avenue, Union, New Jersey 07083.
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 of the Local Rules of the United States Bankruptcy Court for the District of New Jersey (iv)

 Appendix B Guidelines for Reviewing Applications for Compensation and Reimbursement of

 Expenses Filed Under 11 U.S.C. § 330 by Attorneys in Large Chapter 11 Cases (the “U.S. Trustee

 Guidelines”) and (v) the Order Granting Debtors’ Motion for Entry of an Administrative Fee

 Order Establishing Procedures for the Allowance and Payment of Interim Compensation and

 Reimbursement of Expenses of Professionals Retained By Order of this Court (the “Interim Fee

 Order”) [ECF No. 377]. In support of the Application, Gibbons relies upon the Declaration of

 Robert K. Malone Pursuant to 28 U.S.C. § 1746 in Support of the First and Final Application of

 Gibbons P.C. for Compensation of Professional Services Rendered and Reimbursement of

 Expenses for the Period from May 23, 2023 through September 29, 2023, attached hereto as

 Exhibit A, and respectfully represents as follows:

                                        BACKGROUND

        1.      On April 23, 2023 (the “Petition Date”), each Debtor filed a voluntary petition for

 relief under chapter 11 of the Bankruptcy Code with the Court (collectively, the “Chapter 11

 Cases”) [See ECF No. 1].

        2.      On May 5, 2023, the Office for the United States Trustee for Region Three (the

 “U.S. Trustee”) appointed the Committee, consisting of the following members: (i) Ryder

 Integrated Logistics, Inc.; (ii) The Bank of New York Mellon; (iii) Intersoft Data Labs Inc.; (iv)

 KDM P.O.P. Solutions Group; (v) Shark Ninja Operating LLC; (vi) Lenox Corporation; and (vii)

 SITE Centers Corp. [ECF No. 218].

        3.      On May 17, 2023, the Court entered the Interim Fee Order, which, among other

 things, establishes certain procedures for the submission and payment of interim and final fee

 applications in the Chapter 11 Cases [ECF No. 377].




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        4.      On July 20, 2023, the Court entered an Order Authorizing the Employment and

 Retention of Gibbons P.C. as Special Counsel for the Official Committee of Unsecured Creditors

 Effective as of May 24, 2023 (the “Retention Order”) [ECF No. 1424]. A true and correct copy of

 the Retention Order is attached hereto as Exhibit B.

        5.      On September 14, 2023, the Court entered an order confirming the Second

 Amended Joint Chapter 11 Plan of Bed Bath & Beyond Inc. and Its Debtor Affiliates (the “Plan”),

 which became effective on September 29, 2023 [ECF Nos. 2172, 2311].

              SUMMARY OF PROFESSIONAL SERVICES RENDERED AND
                  REIMBURSEMENT OF EXPENSES REQUESTED

        6.      By the Application, Gibbons seeks entry of an order, substantially in the form

 attached hereto as Exhibit C, approving on a final basis, (a) professional compensation in the

 total amount of $179,833.50 (inclusive of estimated fees incurred for the preparation of the Fee

 Application) rendered by Gibbons professionals and paraprofessionals and (b) reimbursement of

 reasonable and necessary expenses incurred in connection with the professional services rendered

 in the total amount of $198.00, for the period from May 23, 2023 through September 29, 2023 (the

 “Application Period”), which are set forth in the Firm’s invoice attached hereto as Exhibit D.

        7.      Gibbons rendered reasonable and necessary professional services as requested by

 the Committee and its professionals. During the Compensation period, Gibbons’ blended hourly

 rate for serves rendered (considering the estimated amounts for preparation of this Application)

 was $774.00, which included 176.8 hours performed by Directors, 53.6 hours performed by an

 Associate, and 1.8 hours performed by paraprofessionals and administrative personnel. The

 following summaries describe certain work performed by Gibbons, which is organized by project

 category, as required by the U.S. Trustee Guidelines.




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              A. Tax Issues

        8.       Gibbons primarily worked with the Committee’s other professionals to develop a

 strategy to preserve the Debtors’ tax attributes, including net operating losses, for the benefit of

 their unsecured creditors. Ultimately, due to the expedited nature of the Chapter 11 Cases,

 complexity of the Chapter 11 Cases, and limited nature by which an entity may transfer certain tax

 attributes, no post-confirmation corporate structure was implemented through the Plan to monetize

 the Debtors’ net operating losses. Many of the other categories of work performed by the Firm,

 including Asset Analysis and Recovery, Asset Disposition, and Plan and Disclosure Statement,

 overlapped with and complemented the Firms’ services in connection with Tax Issues.

              B. Fee and Employment Applications

        9.       Gibbons, as required by the Bankruptcy Code, Bankruptcy Rules, and Local Rules,

 prepared, filed and served its retention application and this Application, which requests

 compensation and reimbursement of expenses for the entire length of the Firm’s engagement

 during the Chapter 11 Cases. To ensure that Gibbons complied with the foregoing authority,

 Gibbons personnel performed conflict searches on over 2000 interested parties and thoroughly

 examined each conflict search report to adequately disclosure all connections with such parties.

 Gibbons’ fees incurred in these categories were reasonable and necessary in light of the demands

 imposed on retained professionals and magnitude of parties involved in the Chapter 11 Cases.

              C. Case Administration, Asset Analysis and Recovery, Asset Disposition,
                 Meetings of and Communications with Creditors, Plan and Disclosure
                 Statement and Trial and Hearing Attendance

        10.      As indicated above, services rendered in these categories overlapped with and

 complemented the Firm’s services in connection with Tax Issues. This included reviewing

 pleadings filed with the Court, reviewing and analyzing the Debtors’ financials concerning net




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 operating losses, communicating with unsecured creditors, including certain bond holders,

 analyzing the Debtors’ disclosure statement and chapter 11 plan, and attending hearings conducted

 by the Court. The Firm’s services in these categories were necessary and reasonable, as its goal

 was to preserve and monetizes the Debtor’s net operating losses, and certain events during these

 Chapter 11 Cases necessarily impacted the ability to do so, including the sale of the Debtors’ assets

 and change in ownership of the Debtors.

                                   VALUATION OF SERVICES

         11.     Section 330 of the Bankruptcy Code sets forth the extent of compensation allowed

 to professionals employed under section 328 of the Bankruptcy Code. Under section 330(a),

 bankruptcy courts may award only reasonable compensation for actual, necessary services

 rendered by a professional. See 11 U.S.C. § 330(a). Reasonableness is based upon, among other

 things, (i) the nature of the services provided; (ii) the extent of the services; (iii) the value of the

 services; (iv) the time spent on the services; and (v) the cost of comparable services in non-

 bankruptcy cases. See In re Busy Beaver Bldg. Ctrs., Inc., 19 F.3d 833, 840 (3d Cir. 1994); In re

 Lan Assoc. IX, L.P., 192 F.3d 109, 122 (3d Cir. 1999). Gibbons respectfully submits that this

 Application is reasonable when measured in light of the factors governing the Court’s analysis and

 that all of the services performed by the Firm were actual and necessary services. In the seminal

 case of Johnson v. Ga. Highway Express, Inc., 488 F.2d 714 (5th Cir. 1974), twelve (12) factors

 were set forth, which courts are encouraged to consider when determining whether fees requested

 are reasonable for purposes of section 330(a). The factors include:

         (1)     The time and labor required;

         (2)     The novelty and difficulty of the questions presented;

         (3)     The skill requisite to perform the legal service properly;




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         (4)    The preclusion of other employment by the attorney due to the acceptance

                of the case;

         (5)    The customary fee charged by the applicant;

         (6)    Whether the fee is fixed or contingent;

         (7)    The time limitations imposed by the client or the circumstances;

         (8)    The amount involved and the results obtained;

         (9)    The experience, reputation, and ability of the attorneys;

         (10)   The “undesirability” of the case;

         (11)   The nature and length of the professional relationship with the client; and

         (12)   The extent of awards in similar cases.

         12.    The Firm submits that, under all of the applicable criteria to bankruptcy cases, and

 based upon the factors to be considered under section 330 of the Bankruptcy Code, the

 compensation sought herein is reasonable based upon customary compensation charged by

 comparably skilled practitioners in non-bankruptcy matters.

         13.    In accordance with the factors enumerated in section 330 of the Bankruptcy Code,

 the amount requested is fair and reasonable given (a) the complexity of the Chapter 11 Cases, (b)

 the time expended, (c) the nature and extent of the services rendered, (d) the value of such services,

 and (e) the costs of comparable services other than in a case under chapter 11 of the Bankruptcy

 Code.

                                              NOTICE

         14.    Notice of the Application has been provided to (i) Bed Bath & Beyond Inc., 650

 Liberty Avenue, Union, New Jersey 07083, Attn: David Kastin (david.kastin@bedbath.com) (ii)

 Cole Schotz P.C., as co-counsel to the Debtors, Court Plaza North, 25 Main Street, Hackensack,




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 New Jersey 07601, Attn: Michael D. Sirota, Esq. (msirota@coleschotz.com), Warren A. Usatine,

 Esq. (wusatine@coleschotz.com), and Felice R. Yudkin, Esq. (fyudkin@coleschotz.com) ; (iii)

 Kirkland & Ellis LLP, as co-counsel to the Debtors, 601 Lexington Avenue, New York, New York

 10022, Attn: Joshua A. Sussberg, P.C. (josh.sussberg@kirkland.com), Emily E. Geier, P.C.

 (emily.geier@kirkland.com), Derek I. Hunter, Esq. (derek.hunter@kirkland.com); (iv) the United

 States Trustee for the District of New Jersey, One Newark Center, 1085 Raymond Boulevard,

 Suite 2100, Newark, New Jersey, 07102, Attn: Fran B. Steele, Esq. (fran.b.steele@usdoj.gov),

 John    Schanne,    Esq.    (john.schanne@usdoj.gov),      and    Alexandria     Nikolinos,    Esq

 (alexandria.nikolinos@usdoj.gov); (v) counsel for JPMorgan Chase Bank, N.A. in its capacities

 as ABL agent under the Debtors’ prepetition ABL facility and post-petition debtor in possession

 financing facility: Davis Polk & Wardwell, LLP, 450 Lexington Avenue, Boston, MA, 02110,

 Attn: Adam L. Shpeen, Esq. (adam.shpeen@davispolk.com), Steven Z. Szanzer, Esq.

 (szanzer@davispolk.com) and Michael Pera, Esq. (michael.pera@davispolk.com); (vi) counsel for

 Sixth Street Specialty Lending, Inc. in its capacities as FILO agent under the Debtor’s prepetition

 ABL facility and post-petition debtor in possession financing facility: Proskauer Rose LLP, Eleven

 Times Square, New York, NY 10036, Attn: David M. Hillman, Esq. (dhillman@proskauer.com)

 and Megan R. Volin, Esq. (mvolin@proskauer.com); (vii) counsel for the Official Committee of

 Unsecured Creditors (the “Committee”), Pachulski Stang Ziehl & Jones LLP, Attn: Robert J.

 Feinstein (rfeinstein@pszjlaw.com), Bradford J. Sandler (bsandler@pszjlaw.com), Paul J. Labov

 (plabov@pszjlaw.com), and Colin R. Robinson (crobinson@pszjlaw.com) via electronic mail, and

 all other parties that have formally requested notice in the Chapter 11 cases via the Court’s

 CM/ECF System.




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        WHEREFORE, Gibbons respectfully requests entry of an order (i) allowing, on a final

 basis, compensation for reasonable and necessary services rendered to the Committee in the total

 amount of $179,833.50 and reimbursement of expenses incurred in the total amount of $198.00

 for the period from May 23, 2023 through September 29, 2023; (ii) authorizing and directing the

 Debtors to pay Gibbons the allowed fees and expenses; and (iii) granting such other relief that the

 Court finds just and proper.

  Dated: November 13, 2023                           GIBBONS P.C.
  Newark, New Jersey
                                                     By: /s/ Robert K. Malone
                                                     Robert K. Malone, Esq.
                                                     Brett S. Theisen, Esq.
                                                     Kyle P. McEvilly, Esq.
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                                                     Special Counsel to the Official
                                                     Committee of Unsecured Creditors




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